     Case 22-40503       Doc 24      Filed 04/27/22 Entered 04/27/22 09:04:08            Desc BK Hearing
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Form ntchrgBKv2

                                   UNITED STATES BANKRUPTCY COURT
                                          Eastern District of Texas

                                         Bankruptcy Case No.: 22−40503
                                                  Chapter: 11
                                           Judge: Brenda T. Rhoades

In Re:

Service One, LLC


                                      NOTICE OF COURT PROCEEDING

A status hearing pursuant to 11 U.S.C. Sec. 1188 will be held on

Tuesday, June 7, 2022

at

10:00 AM

to consider and act upon document 1 − Chapter 11 Subchapter V Voluntary Petition. Without Schedules, Statements,
or Other Required Documents. Filed by Service One, LLC, Chapter 11 Plan due by 07/20/2022.Document Due
04/28/2022. (Attachments: # 1 Debtor's Statement Regarding Balance Sheet, Statement of Operations, and Cash Flow
Statement # 2 2020 Tax Return)(Moser, Christopher) filed as document number 1 .

Debtor shall file a Pre−Hearing Report pursuant to 11 U.S.C Sec. 1188(c) by Tuesday, May 24, 2022
The courtroom is located at Plano Bankruptcy Courtroom, 660 N. Central Expressway, Third Floor, Plano, TX
75074.

Dated: Wednesday, April 27, 2022

                                                          Jason K. McDonald
                                                          Clerk, U.S. Bankruptcy Court
